     Case 4:20-cv-00321-SDJ Document 68 Filed 08/11/22 Page 1 of 1 PageID #: 453




                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


NATHANIEL HIERS                             §
                                            §
v.                                          §   CIVIL NO. 4:20-CV-321-SDJ
                                            §
THE BOARD OF REGENTS OF THE                 §
UNIVERSITY OF NORTH TEXAS                   §
SYSTEM, ET AL.                              §

                                        ORDER

         On August 10, 2022, the parties filed a Joint Status Report informing the Court

 that they have reached a settlement agreement and are in the process of obtaining
         .
 all required signatures. (Dkt. #67).

         It is therefore ORDERED that, on or before September 9, 2022, the parties

 shall file with the Court either (1) all papers necessary for the dismissal of all

 claims between them and for the closing of this civil action or (2) a further joint

 report on the status of the settlement.

         It is further ORDERED that all deadlines scheduled in this matter will

 remain STAYED pending further order of the Court.

             So ORDERED and SIGNED this 11th day of August, 2022.




                                                       ____________________________________
                                                       SEAN D. JORDAN
                                                       UNITED STATES DISTRICT JUDGE
